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                                                     Department of the Treasury - Internal Revenue Service                    Request Number
 Form      4564
 (Rev. September 2006)                          Information Document Request                                                   0002
 To: (Name of Taxpayer and Company Division or Branch)                                                 Subject
                                                                                                       Additional Request
  CSW Consulting
                                                                                                       SAIN number     !Submitted to:
                                                                                                                         CSW Consulting
  Please return Part 2 with listed documents to requester identified below                             Dates of Previous Requests (mmddyyyy)


  Descnptron of documents requested
  Tax Period(s):        201312; 201412; 201512


  There are still several items that have not been provided from the original IDR. Please provide
  them as soon as possible as these items are delinquent.

  Additionally, please provide copies of the following items:

       •     A detailed explanation of all the cost listed under Cost of Good Sold and how they are
             related to the production and sale of marijuana, and how they would qualify under Tres.
             Reg. 1.471-11
       •     A copy of your filed 2016 federal tax return




  Information due by _1._.0...
                            I0..,.6~12..,._0..._.17_ _ _ __           At next appointment      1K]      Mailin   D
                        Name and Title of Requester                                         Employee ID number       Date (mmddyyyy)

                        David Hewell, Revenue Agent                                         08-98924                 09/27/2017
               \
  From:

              V
                        Office Location:        12600 W Colfax Ave Suite c300                                        Phone: 720-956-4675
                                                MS 4161 DH                                                           Fax: 888-765-1496
                                                Lakewood , CO 80215
Catalog Number 23145K            www. irs.gov                 Part 2 - To be Returned by Taxpayer with Reply                   Form 4564 (Rev. 9-2006)




                                                                         EXHIBIT 4
